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                         THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF LOUISIANA
                                SHREVEPORT DIVISION

 DONNA PARKER                                        Civil Action No: 5:17-cv-01435-TAD-KLH

        Plaintiff                                    District Judge Terry A Doughty
                                                     Magistrate Judge: Karen L Hayes
 V

 Benteler Steel

        Defendant

        __________________________________________________________________

                    PROPOSED AMENDED AND SUPPLEMENTAL
                       EMPLOYMENT DISCRIMINATON SUIT
        __________________________________________________________________

 TO THE HONORABLE JUDGE OF THIS COURT:

        NOW INTO COURT, through undersigned counsel comes DONNA PARKER, who

 desires to supplement and amend her original complaint for damages in the following aspects:

                                                1.

        By supplementing and amending the caption to plaintiff’s original complaint for damages

 to read as follows:

                         THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF LOUISIANA
                                SHREVEPORT DIVISION

 DONNA PARKER                                        Civil Action No: 5:17-cv-01435-TAD-KLH

        Plaintiff                                    District Judge Terry A Doughty
                                                     Magistrate Judge: Karen L Hayes
 V

 Benteler Steel Tube Manufacturing Corp

        Defendant
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        __________________________________________________________________

                         EMPLOYMENT DISCRIMINATION
        __________________________________________________________________

 TO THE HONORABLE JUDGE OF THIS COURT:

 By amending and supplementing paragraph 1 to read as follows:

    A. SEXUAL HARRASMENT

        1. DONNA PARKER suffered a “tangible employment action” that “resulted from her

           rejection of supervisor’s alleged sexual harassment.” Id. at 283.

        2. “the tangible employment action constituted a significant change in her employment

           status such that she was reassigned to trash detail with significantly different

           responsibilities from a saw operator.” Burlington Indus., Inc. v. Ellerth, 524 U.S. 742,

           761, 118 S.Ct. 2257, 141 L.Ed.2d 633 (1998). La Day v. Catalyst Tech., Inc., 302

           F.3d 474, 481–82 (5th Cir.2002)

        3. DONNA PARKER’s trainer stopped training her when she rejected his sexual

           advances and after she complained to human resources about her feelings of

           harassment.

        4. 8/10/15 Donna Parker, requested to be moved to a different position in Benteler.

        5. After her complaint, Benteler began to write DONNA negative performance

           evaluations stating that she was not qualified for the job of saw operator.

        6. 9/16/15 Donna complained again about sexual harassment and lack of training from

           her trainer and then she asked again to be moved to a different job.

        7. Donna Parker’s supervisor, Troy Lambright met with her to discuss reassigning her to

           a lesser paying job to meet her accommodations. No action was taken.

        8. 10/9/15 Benteler received notice of Donna’s EEOC first EEOC complaint.
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        9. But Donna was terminated before being reassigned.

    B. DIABILITY

    DONNA PARKER showed that she (1) has a disability, or was regarded as disabled, or has a

 record of a disability.      0n November 9, 2015 Donna’s doctor wrote a report to Benteler,

 explaining that Parker’s medication may cause dizziness and frequent urination; and she state

 that she would appreciate any work accommodations due to parker’s medication; and (3)

 Benteler terminated DONNA because they claim that she did not provide them with

 documentation from her doctor thus she was subjected to an adverse employment decision on

 account of her disability.

    C. RETALIATION

 (1) protected employee action, Donna complained of harassment and then she filed two EEOC

 complaints against Benteler; (2) Benteler wrote poor performance evaluations against Donna

 after she complained of sexual harassment to Benteler’s human resources department; and (3)

 There is a causal connection between Benteler’s poor performance evaluations complaining that

 Parker was not qualified for her job or that she needed to focus on learning her job and Donna’s

 complaint that her trainer was making sexual advances toward her and then he refused to train

 her after she complained.”

    D. CONCLUSION

        By amending the prayer for relief in plaintiffs’ original complaint for damages to read as

 follows:

        “WHEREFORE, Plaintiffs pray that the defendants be served with a certified copy of

 Plaintiffs’ Original complaint suit; and the first and second amended suits; and be cited to appear

 and answer the same and after all legal delays and due proceedings had, that there be judgment
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       herein in favor of plaintiff and against the aforementioned defendants, for damages as may be

       reasonable in the premise in accordance with the law and evidence together with legal interest

       hereon from date of judicial demand until paid, and for all costs of these proceedings.

               PLAINTIFF FURTHER PRAYS for all other such relief as the law, equity, and nature

       of the case permit.

               PLAINTIFF FURTHER repeats and reiterates each and every allegation to be found in

       her original suit inclusive as if copied herein extension and as amended.


CERTIFICATE OF SERVICE
                                                       Respectfully submitted
I hereby certify that a copy of the above
pleading was filed electronically with the             MOSES LAW FIRM, LLC
Clerk of Court using the CM/ECF system.
Notice of this filing will be sent to all parties      2900 Westfork Drive Ste. 401
in the matter by operation of the court’s              Baton Rouge, La. 70827
electronic filing system.                              Phone: 225-295-5632
                                                       Fax: 888-518-0559
S/Edward Moses Jr                                      E-mail: edward@moses-lawfirm.com


       Attorney for Donna Parker:

       /s/ Edward Moses Jr (B/N:30646)
